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 6
 7                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
 8                                  (Southern Division)
 9
      MICHELLE MILLS, COY SARELL, CHAD
10    WESTOVER, BRENT ALESHIRE,
      BARBARA KERSHNER, PAULA
11                                                            Case No. 22-994
      SCHAUB, and JENNIFER SILVA,
12    individually and as representatives of a class          COMPLAINT
      of participants and beneficiaries on behalf of
13                                                            CLASS ACTION
      the Molina Salary Savings Plan,
14                                                            JURY TRIAL DEMANDED
                                    Plaintiffs,
15
16    v.
17
      NFP RETIREMENT, INC.,
18
                                    Defendant.
19
20               1.    Plaintiffs Michelle Mills, Coy Sarell, Chad Westover, Brent Aleshire,
21    Barbara Kershner, Paula Schaub, and Jennifer Silva, individually and as
22    representatives of a class of participants and beneficiaries of the Molina Salary
23    Savings Plan (“the Plan”), bring this action under 29 U.S.C. §1132(a)(2) and (a)(3)
24    on behalf of the Plan against Defendant NFP Retirement, Inc. (“NFP”) for breach of
25    fiduciary duties under ERISA. 1
26               2.    As a Plan fiduciary, NFP was obligated to act for the exclusive benefit
27
28         1
               The Employee Retirement Income Security Act, 29 U.S.C. §§1001–1461.

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 1   of Plan participants and beneficiaries and to ensure that Plan expenses are
 2   reasonable and Plan investments are prudent. These duties are the “highest known
 3   to the law” and must be discharged with “an eye single to the interests of the
 4   participants and beneficiaries.” Donovan v. Bierwirth, 680 F.2d 263, 271, 272 n.8
 5   (2d Cir. 1982). Instead of acting in the exclusive best interest of participants, NFP
 6   caused the Plan to invest in flexPATH’s untested target date funds, which replaced
 7   established and well-performing target date funds used by participants to meet their
 8   retirement needs. NFP also caused the Plan to pay unreasonable investment
 9   management expenses to be charged to the Plan.
10           3.        To remedy these breaches of duty, Plaintiffs, individually and as
11   representatives of a class of participants and beneficiaries of the Plan, bring this
12   action on behalf of the Plan under 29 U.S.C. §1132(a)(2) and (a)(3) to enforce
13   NFP’s personal liability under 29 U.S.C. §1109(a) to make good to the Plan all
14   losses resulting from each breach of fiduciary duty and to restore to the Plan profits
15   made through its use of Plan assets. In addition, Plaintiffs seek equitable or
16   remedial relief for the Plan as the Court may deem appropriate.
17                                 JURISDICTION AND VENUE
18           4.        Subject-matter jurisdiction. This Court has exclusive jurisdiction
19   over the subject matter of this action under 29 U.S.C. §1132(e)(1) and 28 U.S.C.
20   §1331 because it is an action under 29 U.S.C. §1132(a)(2).
21           5.        Venue. This District is the proper venue for this action under 29
22   U.S.C. §1132(e)(2) and 28 U.S.C. §1391(b) because it is the district where the Plan
23   is or was administered, where at least one of the alleged breaches took place, or
24   where at least one defendant resides or may be found.
25           6.        Standing. An action under §1132(a)(2) allows recovery only for a plan
26   and does not provide a remedy for individual injuries distinct from plan injuries.
27   LaRue v. DeWolff, Boberg & Assocs., 552 U.S. 248, 256 (2008). The plan is the
28   victim of any fiduciary breach and the recipient of any recovery. Id. at 254. Section
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 1   1132(a)(2) authorizes any participant, fiduciary, or the Secretary of Labor to bring a
 2   civil action to seek relief on behalf of a plan. 29 U.S.C. §1132(a)(2). As explained
 3   in detail below, the Plan suffered millions of dollars in losses resulting from NFP’s
 4   fiduciary breaches and remains exposed to harm and continued future losses, and
 5   those injuries may be redressed by a judgment of this Court in favor of Plaintiffs.
 6   To the extent the Plaintiffs must also show an individual injury, each Plaintiff has
 7   suffered such an injury, in at least the following ways:
 8                a. The Named Plaintiffs suffered harm to their individual accounts as a
 9                     result of NFP’s fiduciary breaches. During the proposed class period,
10                     each of the Named Plaintiffs invested in the flexPATH Index target
11                     date funds provided in the Plan. By advising the Plan’s fiduciaries
12                     regarding the flexPATH’s target date funds, NFP caused millions of
13                     dollars in performance losses to all participants who invested in these
14                     funds.
15                b. The Named Plaintiffs suffered harm to their individual accounts as a
16                     result of NFP causing higher-cost versions of the Plan’s investments to
17                     be maintained in the Plan. For instance, each of the Named Plaintiffs
18                     invested in higher-cost share classes of flexPATH’s target date funds
19                     when lower-cost shares were available for the identical investments.
20                     Plaintiffs Westover and Silva also invested in the Fidelity Low-Priced
21                     Stock Fund when lower-cost shares were available to the Plan. Had the
22                     Plan used the lowest-cost shares or versions of the Plan’s investments,
23                     every participant’s account would have had fewer investment
24                     management fees deducted and would have been of higher value in
25                     light of those fees and the investment return on those fees.
26                                             PARTIES
27                                   Molina Salary Savings Plan
28           7.        The Molina Salary Savings Plan is a defined contribution, individual
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 1   account, employee pension benefit plan under 29 U.S.C. §1002(2)(A) and
 2   §1002(34). All eligible employees of Molina Healthcare, Inc. and subsidiaries may
 3   participate in the Plan.
 4           8.        The Plan was established on January 1, 1990 and is maintained under a
 5   written document in accordance with 29 U.S.C. §1102(a)(1), last amended and
 6   restated effective April 5, 2021.
 7           9.        Under the Plan, participants are responsible for investing their
 8   individual accounts and will receive in retirement only the current value of that
 9   account, which will depend on the amount contributed to the account by the
10   employee and employer and on the performance of investment options net of fees
11   and expenses. Plan fiduciaries control what investment options are provided in the
12   Plan and the Plan’s fees and expenses.
13           10.       As of December 31, 2015, the Plan had $305 million in assets and
14   13,303 participants with account balances. By December 31, 2020, the Plan had
15   $741 million in assets and 15,686 participants with account balances.
16                                              Plaintiffs
17           11.       Michelle Mills was formerly employed by Molina Healthcare of Ohio.
18   She resides in Blacklick, Ohio. She participated in the Plan until approximately
19   August 2021. However, she is still a “participant” under 29 U.S.C. §1002(7) for
20   purposes of bringing this action on behalf of the Plan under 29 U.S.C. §1132(a)(2)
21   because she is eligible to receive her share of the amounts by which her account
22   would have been greater had Defendant not breached its fiduciary duties.
23           12.       Coy Sarell was formerly employed by Molina Healthcare, Inc. He
24   resides in Garden Grove, California. He participated in the Plan through May 2019.
25   However, he is still a “participant” under 29 U.S.C. §1002(7) for purposes of
26   bringing this action on behalf of the Plan under 29 U.S.C. §1132(a)(2) because he is
27   eligible to receive his share of the amounts by which his account would have been
28   greater had Defendant not breached its fiduciary duties.
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 1           13.       Chad Westover was formerly employed by Molina Healthcare of Utah.
 2   He resides in Sandy, Utah. He is a participant in the Plan under 29 U.S.C. §1002(7)
 3   because he and his beneficiaries are or may become eligible to receive benefits
 4   under the Plan.
 5           14.       Brent Aleshire was formerly employed by Molina Healthcare of
 6   Illinois. He resides in Oconomowoc, Wisconsin. He participated in the Plan until
 7   approximately February 2022. However, he is still a “participant” under 29 U.S.C.
 8   §1002(7) for purposes of bringing this action on behalf of the Plan under 29 U.S.C.
 9   §1132(a)(2) because he is eligible to receive his share of the amounts by which his
10   account would have been greater had Defendant not breached its fiduciary duties.
11           15.       Barbara Kershner was formerly employed by Pathways of Maine, a
12   participating employer in the Plan. She resides in Orrington, Maine. She is a
13   participant in the Plan under 29 U.S.C. §1002(7) because she and her beneficiaries
14   are or may become eligible to receive benefits under the Plan.
15           16.       Paula Schaub was formerly employed by Molina Healthcare of New
16   Mexico. She resides in Albuquerque, New Mexico. She participated in the Plan
17   until approximately October 2020. However, she is still a “participant” under 29
18   U.S.C. §1002(7) for purposes of bringing this action on behalf of the Plan under 29
19   U.S.C. §1132(a)(2) because she is eligible to receive her share of the amounts by
20   which her account would have been greater had Defendant not breached its
21   fiduciary duties.
22           17.       Jennifer Silva was formerly employed by Molina Healthcare, Inc. She
23   resides in Simpsonville, South Carolina. She is a participant in the Plan under 29
24   U.S.C. §1002(7) because she and her beneficiaries are or may become eligible to
25   receive benefits under the Plan.
26                                            Defendant
27           18.       NFP Retirement, Inc. (dba 401k Advisors, Inc.) is a registered
28   investment adviser under the Investment Advisers Act of 1940 with its principal
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 1   place of business in Aliso Viejo, California. Effective March 1, 2010, Molina
 2   Healthcare, Inc. (“Molina”) appointed NFP as the Plan’s investment consultant or
 3   fiduciary investment advisor as defined by 29 U.S.C. §1002(21)(A)(ii). NFP
 4   provided investment advice to Molina related to the selection, monitoring and
 5   replacement of Plan investments, the selection of service providers, the
 6   development and ongoing evaluation of the Plan’s Investment Policy Statement
 7   (“IPS”), and the assessment of the reasonableness of Plan expenses.
 8                     Other Plan fiduciaries and administration of the Plan
 9           19.       Molina Healthcare, Inc. is a domestic corporation incorporated in
10   Delaware. Molina provides managed health care services under Medicaid and
11   Medicare programs and through state insurance programs. Molina is headquartered
12   in Long Beach, California.
13           20.       Molina is the Plan sponsor under 29 U.S.C. §1102(a)(1) and Plan
14   administrator under 29 U.S.C. §1002(16). The Board of Directors of Molina
15   Healthcare, Inc. (“Board”) established the Molina Salary Savings Plan Investment
16   Committee (“Investment Committee”) through the Molina Salary Savings Plan
17   Investment Committee Charter (“Charter”).
18           21.       The Board delegated authority to the Investment Committee, including
19   establishing and maintaining an IPS of the Plan, selecting investment options and
20   investment managers, evaluating the performance of Plan investments and
21   recommending investment option changes, administering the Plan, and reviewing
22   issues, making decisions and implementing them in accordance with ERISA and
23   the terms of the Plan. The Investment Committee was delegated authority to select,
24   monitor and remove Plan investments, among other duties.
25           22.       Because the individual Molina Plan fiduciaries acted as alleged herein
26   as agents of Molina, the Molina fiduciaries are collectively referred to hereafter as
27   “Molina” unless otherwise indicated.
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 1                               ERISA’S FIDUCIARY STANDARDS
 2           23.       ERISA imposes strict fiduciary duties of loyalty and prudence upon
 3   the fiduciaries of the Plan. 29 U.S.C. §1104(a), states, in relevant part, that:
 4           [A] fiduciary shall discharge his duties with respect to a plan solely in the
 5           interest of the participants and beneficiaries and –
 6                     (A)     for the exclusive purpose of
 7                             (i) providing benefits to participants and their beneficiaries; and
 8                             (ii) defraying reasonable expenses of administering the plan;
 9                     [and]
10                     (B)     with the care, skill, prudence, and diligence under the
11                             circumstances then prevailing that a prudent man acting in a like
12                             capacity and familiar with such matters would use in the
13                             conduct of an enterprise of like character and with like aims.
14           24.       Under ERISA, fiduciaries that exercise any authority or control over
15   plan assets, including, but not limited to, the selection of plan investments and
16   service providers, must act prudently and for the exclusive benefit of participants in
17   the plan, monitor the funds in the plan and remove imprudent or excessively
18   expensive funds. Fiduciaries cannot act for the benefit of third parties, including
19   service providers to the plan, affiliated businesses or brokerage firms and those who
20   provide investment products. Fiduciaries must ensure that the amount of fees paid
21   to service providers is no more than reasonable. DOL Adv. Op. 97-15A; DOL Adv.
22   Op. 97-16A; see also 29 U.S.C. §1103(c)(1) (plan assets “shall be held for the
23   exclusive purposes of providing benefits to participants in the plan and their
24   beneficiaries and defraying reasonable expenses of administering the plan”).
25           25.       An ERISA “trustee has a continuing duty to monitor trust investments
26   and remove imprudent ones.” Tibble v. Edison Int’l, 575 U.S. 523, 529 (2015).
27   Prudence requires a review at “regular intervals.” Id. When making investment
28   decisions, an ERISA fiduciary “is duty-bound ‘to make such investments and only
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 1   such investments as a prudent [person] would make of his own property[.]’” In re
 2   Unisys, 74 F.3d 420, 434 (3d Cir. 1996) (quoting RESTATEMENT (SECOND) OF
 3   TRUSTS §227 (1959)). “[T]he duty to conduct an independent investigation into the
 4   merits of a particular investment” is “the most basic of ERISA’s investment
 5   fiduciary duties.” Id. at 435.
 6           26.       A defined contribution plan fiduciary cannot “insulate itself from
 7   liability by the simple expedient of including a very large number of investment
 8   alternatives in its portfolio and then shifting to the participants the responsibility for
 9   choosing among them.” Hecker v. Deere & Co., 569 F.3d 708, 711 (7th Cir. 2009).
10   Instead, fiduciaries have a “duty to monitor all plan investments and remove any
11   imprudent ones.” Hughes v. Nw. Univ., 142 S. Ct. 737, 740 (2022); see also 29
12   C.F.R. §2550.404a-1; DOL Adv. Op. 98-04A; DOL Adv. Op. 88-16A. Fiduciaries
13   have “a continuing duty to monitor investments and remove imprudent ones”
14   within a reasonable time. Tibble, 575 U.S. at 530.
15           27.       ERISA also imposes explicit co-fiduciary liability on plan fiduciaries.
16   29 U.S.C. §1105(a) provides a cause of action against a fiduciary for knowingly
17   participating in a breach by another fiduciary and knowingly failing to cure any
18   breach of duty. The statute states, in relevant part, that:
19           In addition to any liability which he may have under any other provisions of
20           this part, a fiduciary with respect to a plan shall be liable for a breach of
21           fiduciary responsibility of another fiduciary with respect to the same plan in
22           the following circumstances:
23                     (1)   if he participates knowingly in, or knowingly undertakes to
24                           conceal, an act or omission of such other fiduciary, knowing
25                           such act or omission is a breach; [or]
26                     (2)   if, by his failure to comply with section 1104(a)(1) of this title in
27                           the administration of his specific responsibilities which give rise
28                           to his status as a fiduciary, he has enabled such other fiduciary
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 1                           to commit a breach; or
 2                     (3)   if he has knowledge of a breach by such other fiduciary, unless
 3                           he makes reasonable efforts under the circumstances to remedy
 4                           the breach.
 5                                    BACKGROUND FACTS
 6           28.       “Defined contribution plans dominate the retirement plan scene
 7   today.” LaRue v. DeWolff, Boberg & Assocs., 552 U.S. 248, 255 (2008). In the
 8   private sector, such plans have largely replaced the defined benefit pension plans
 9   that were America’s retirement system when ERISA was enacted in 1974. The
10   consulting firm Towers Watson studied Fortune 100 companies from 1985 to 2012
11   and found that the type of retirement plan offered by the companies has essentially
12   flipped over the last three decades. 2 The survey found that whereas in 1985, 89 of
13   the Fortune 100 companies offered a traditional defined benefit plan, in 2012, only
14   11 of the Fortune 100 companies offered defined benefit plans to newly hired
15   employees. Defined contribution plans have become America’s retirement system.
16           29.       A fundamental difference between traditional pension plans and
17   defined contribution plans is that, in the former, the employer’s assets are at risk.
18   Because the employer is responsible for funding the pension plan to satisfy its
19   commitments to employees, it bears all investment risks. In a defined contribution
20   plan, the employees and retirees bear all investment risks.
21           30.       Each participant in a defined contribution plan has an individual
22   account and directs plan contributions into one or more investment alternatives in a
23   lineup chosen by the plan’s fiduciaries. “[P]articipants’ retirement benefits are
24   limited to the value of their own individual investment accounts, which is
25   determined by the market performance of employee and employer contributions,
26   less expenses.” Tibble, 135 S. Ct. at 1826. Plan expenses can “significantly reduce
27
       Towers Watson, Retirement Plan Types of Fortune 100 Companies in 2012,
        2
28   TOWERS WATSON RESEARCH INSIDER, Oct. 2012.
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  1   the value of an account in a defined-contribution plan.” Id. The fees assessed to
  2   participants are generally attributable to two types of services: plan administration
  3   and investment management.
  4           31.       The plan’s fiduciaries have control over these expenses. The
  5   fiduciaries are responsible for hiring administrative service providers and
  6   negotiating and approving their compensation. The fiduciaries also have exclusive
  7   control over the menu of investment alternatives to which participants may direct
  8   the assets in their accounts. The investment alternatives each have their own fees,
  9   usually expressed as a percentage of assets under management, or “expense ratio.”
 10   For example, if a fund deducts 1.0% of fund assets each year in fees, the fund’s
 11   expense ratio would be 1.0%, or 100 basis points (bps). (One basis point is equal to
 12   1/100th of one percent.) The fees deducted from a fund’s assets reduce the value of
 13   the shares and hence reduce the returns that participants receive on their
 14   investments.
 15           32.       These fiduciary decisions have the potential to dramatically affect the
 16   amount of money that participants are able to save for retirement. According to the
 17   U.S. Department of Labor, a 1% difference in fees over the course of a 35-year
 18   career makes a difference of 28% in savings at retirement. 3 Over a 40-year career,
 19   this difference in fees can reduce a participant’s retirement savings by almost
 20   $500,000. 4
 21           33.       Academic and financial industry literature demonstrate that high
 22   expenses are not correlated with superior investment management. Indeed, funds
 23   with high fees on average perform worse than less expensive funds even on a pre-
 24   fee basis. Javier Gil-Bazo & Pablo Ruiz-Verdu, When Cheaper is Better: Fee
 25
         3
           U.S. Dept. of Labor, A Look at 401(k) Plan Fees, at 2 (Sept. 2019),
 26   https://www.dol.gov/sites/dolgov/files/ebsa/about-ebsa/our-activities/resource-
      center/publications/a-look-at-401k-plan-fees.pdf.
 27      4
           Michael Bird, Pandemic Highlights Reasons for Reviewing Plan Fees,
      PLANSPONSOR, May 15, 2020, https://www.plansponsor.com/pandemic-highlights-
 28   reasons-reviewing-plan-fees/.
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  1   Determination in the Market for Equity Mutual Funds, 67 J. ECON. BEHAV. & ORG.
  2   871, 873 (2008); see also Jill E. Fisch, Rethinking the Regulation of Securities
  3   Intermediaries, 158 U. PA. L. REV. 1961, 1993 (2010) (summarizing numerous
  4   studies showing that “the most consistent predictor of a fund’s return to investors is
  5   the fund’s expense ratio”).
  6                     [T]he empirical evidence implies that superior
  7                     management is not priced through higher expense ratios.
  8                     On the contrary, it appears that the effect of expenses on
  9                     after-expense performance (even after controlling for
 10                     funds’ observable characteristics) is more than one-to-
 11                     one, which would imply that low-quality funds charge
 12                     higher fees. Price and quality thus seem to be inversely
 13                     related in the market for actively managed mutual funds.
 14   Gil-Bazo & Ruiz-Verdu, When Cheaper is Better, at 883.
 15           34.       Accordingly, fiduciaries of defined contribution plans must engage in
 16   a rigorous process to control costs and ensure that participants pay no more than a
 17   reasonable level of fees. This is particularly true for large defined contribution plans
 18   which have the bargaining power to obtain the highest level of service and the very
 19   lowest fees. The fees available to these plans are orders of magnitude lower than the
 20   much higher retail fees available to small investors.
 21           35.       The entities that provide services to defined contribution plans have an
 22   incentive to maximize their fees by putting their own higher-cost funds in plans and
 23   collecting the highest amount possible for plan-related services. For each additional
 24   dollar in fees paid to a service provider, participants’ retirement savings are directly
 25   reduced by the same amount, and participants lose the potential for those lost assets
 26   to grow over the remainder of their careers through investment returns. The level of
 27   diligence used by plan fiduciaries to control, negotiate, reduce the plan’s fees, and
 28   safeguard plan assets directly affects participants’ retirement security.
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  1           36.        Fiduciaries must be cognizant of a service provider’s self-interest in
  2   maximizing fees and cannot simply accede to the provider’s desires and
  3   recommendations to include the provider’s proprietary funds and services that will
  4   maximize the provider’s fees without negotiating or considering alternatives. In
  5   order to act in the exclusive interest of participants and not in the service provider’s
  6   interest, fiduciaries must conduct their own independent investigation into the
  7   merits of a particular investment or service by considering alternatives.
  8                          NFP BREACHED ITS FIDUCIARY DUTIES
  9     I.    NFP breached its fiduciary duties by causing the Plan to include and
 10           retain flexPATH’s untested and novel target date funds as Plan
 11           investment options, which were inferior to established target date funds
 12           available to the Plan.
 13                 A.      The flexPATH Index target date funds.
 14           37.        Target date funds are designed to provide a single diversified
 15   investment vehicle for participants. In general, they can be attractive to participants
 16   who do not want to actively manage their retirement savings to maintain a
 17   diversified portfolio. Target date funds rebalance their portfolios to become more
 18   conservative as the participant gets closer to retirement. The “target date” refers to
 19   the participant’s target retirement date. For instance, target date “2030” funds are
 20   designed for individuals who intend to retire in 2030.
 21           38.        The flexPATH Index target date funds are collective investment trusts
 22   maintained by Wilmington Trust, N.A. (“Wilmington Trust”), a bank that serves as
 23   the trustee for the funds. Collective investment trusts are investment vehicles
 24   maintained by a bank that consist of pooled assets of “retirement, pension, profit
 25   sharing, stock bonus or other trusts exempt from Federal income tax”. 29 C.F.R.
 26   §9.18(a)(2). A collective investment trust is similar to a mutual fund or other
 27   pooled investment vehicle because it also invests in a variety of securities to create
 28   a diversified investment portfolio.
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  1           39.       flexPATH Strategies, LLC (“flexPATH”) is the subadvisor of the
  2   flexPATH Index target date funds. As the subadvisor, flexPATH provides
  3   investment advisory services and has authority over investing fund assets and
  4   developing the investment strategies for the funds.
  5           40.       As explained infra, flexPATH had limited experience managing assets
  6   when the flexPATH Index target date funds were first added to the Plan in May
  7   2016. flexPATH was not registered as an investment adviser with the SEC until
  8   February 2015 and did not begin managing assets until June 2015. Shortly
  9   thereafter, flexPATH launched the flexPATH Index target date funds in December
 10   2015 (for the Aggressive and Conservative funds) and January 2016 (for the
 11   Moderate funds). Accordingly, the full suite of the flexPATH Index target date
 12   funds did not exist until January 2016.
 13           41.       When the flexPATH target date funds were launched, their target date
 14   fund management style had never been used in any target date fund solution offered
 15   in the marketplace. The novel and untested target date fund management style
 16   combined index or passive management strategies with multiple glidepaths. A
 17   glidepath refers to how the fund’s target asset allocations among a mix of
 18   investments, such as stocks, bonds and cash equivalents, are expected to change
 19   over time. As the participant’s target date approaches, the asset allocations
 20   transition to a mix of more conservative investments.
 21           42.       Each “target date” fund had three glidepaths varying by investment
 22   style and risk tolerance. For instance, for the 2030 target retirement date, flexPATH
 23   provided three separate target date funds: flexPATH Index Aggressive 2035 Fund,
 24   flexPATH Index Moderate 2035 Fund, and flexPATH Index Conservative 2035
 25   Fund. Because three separate target date funds are offered for a single target
 26   retirement date, the number of target date funds offered for a plan triples. This adds
 27   further complexity to the fund lineup from which participants select options to
 28   invest for retirement.
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  1           43.       The flexPATH Index target date funds were “off-the-shelf” target date
  2   funds, or funds designed for and offered to defined contribution plans generally.
  3   They were not “custom” or “customized” target date funds, which are funds
  4   designed by an investment adviser or consultant for a single plan sponsor taking
  5   into account that plan’s unique demographics and participant base. Because custom
  6   target date funds are constructed for a specific defined contribution plan, they are
  7   only available to that plan’s participant population. In contrast, the flexPATH target
  8   date funds are marketed and sold to unrelated defined contribution plan sponsors.
  9           44.       The financial statement for the flexPATH Index target date fund series
 10   has described the fees charged to investors as:
 11           “All asset-based fees are based upon the net assets as determined at the end
 12   of each preceding business day as set forth in the table below:
 13                       flexPATH Index I Series                      Fee Class I1
 14                              Trustee Fee                             0.030%
 15                         Service Provider Fee                         0.000%
 16                       Investment Consultant Fee                      0.060%
 17                       Management Services Fee                        0.100%
 18   flexPATH Strategies, LLC is compensated for its investment advisory and
 19   consultant services provided to each fund.”
 20           45.       flexPATH did not actually invest the flexPATH target date funds’
 21   underlying assets. Rather, flexPATH utilized a “fund of funds” structure for the
 22   target date funds, whereby it allocated fund assets among various underlying funds
 23   managed by an unaffiliated investment manager. However, not all of the flexPATH
 24   Index target date funds invested in more than one underlying fund.
 25           46.       The Financial Statements for the Wilmington Trust Collective
 26   Investment Trust Funds Subadvised by flexPATH report the asset allocation of the
 27   flexPATH Index target date fund. For the flexPATH Index Aggressive target date
 28
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  1   funds, the funds invested in one or two BlackRock LifePath Index target date funds,
  2   e.g., the flexPATH Index Aggressive 2025 Fund invests in the BlackRock LifePath
  3   Index 2030 and 2035 funds (F shares). The flexPATH Index Moderate target date
  4   funds invested in the BlackRock LifePath Index target date fund corresponding to
  5   the target retirement date, e.g., the flexPATH Index Moderate 2025 Fund invests in
  6   the BlackRock LifePath Index 2025 Fund (F shares). And the flexPATH Index
  7   Conservative target date funds invested in the BlackRock LifePath Index
  8   Conservative target date fund corresponding to the target retirement date, e.g., the
  9   flexPATH Index Conservative Index 2025 Fund invests in the BlackRock LifePath
 10   Index Conservative 2025 Fund (F shares).
 11           47.       NFP did not disclose to Molina that the flexPATH Index target date
 12   funds invested in one or more underlying BlackRock target date funds, nor did NFP
 13   present this information for Molina’s consideration prior to the decision to add the
 14   flexPATH Index target date funds to the Plan. Accordingly, these underlying funds
 15   were not part of the fiduciary decision-making process when determining whether
 16   to include or recommend the flexPATH Index target date funds in the Plan.
 17           48.       Because flexPATH invested the underlying assets of the flexPATH
 18   Index target date funds in BlackRock target date funds, additional fees were
 19   charged compared to the fees that would have been charged to investors had they
 20   invested directly in BlackRock’s funds. The additional fees are revealed by
 21   comparing the fees charged by the underlying BlackRock funds. The BlackRock
 22   LifePath Index target date funds charge 8 bps. In contrast, flexPATH charged Plan
 23   participants 24 bps. This resulted in an additional 16 bps—200% more—to invest
 24   in flexPATH’s index target date funds.
 25           49.       When presenting the flexPATH Index target date funds to Molina for
 26   consideration, NFP did not disclose the additional fees that flexPATH charged on
 27   top of those fees charged by the underlying BlackRock target date funds.
 28   Accordingly, Molina did not consider the additional fees charged by flexPATH
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  1   when determining whether to add the flexPATH Index target date funds to the Plan.
  2                 B.      The conflicted relationship between NFP and flexPATH.
  3           50.        The flexPATH funds are proprietary investment products of NFP and
  4   flexPATH. NFP specifically markets and promotes the use of the flexPATH funds.
  5   The ownership structure of NFP and flexPATH illustrates the close affiliation
  6   between the two companies. National Financial Partners Corporation (NFP
  7   Corporation) owns NFP. NFP Corporation, along with NFP’s Chief Executive
  8   Officer (CEO) (Vincent Giovinazzo) and President (Nicholas Della Vedova), own
  9   flexPATH. In particular, NFP’s CEO has a 25%–50% ownership interest in
 10   flexPATH, and NFP’s President has a 10%–25% ownership interest. flexPATH and
 11   NFP are operated by the same corporate officers and headquartered in the same
 12   office. The CEO, President, Chief Operations Officer, and Chief Compliance
 13   Officer for NFP also hold those positions for flexPATH. As reported on the
 14   companies’ Forms ADV filed with the SEC, these individuals are control persons
 15   with authority to direct the management of each company (flexPATH and NFP).
 16           51.        NFP’s Form ADV Brochure Part 2A for NFP dated March 2020
 17   confirms this inherent conflict of interest in recommending the use of affiliated
 18   products or services, disclosing that NFP or “its associated persons may receive
 19   compensation” for “services and/or products” affiliated with NFP Corporation or its
 20   affiliates. Moreover, NFP employs Investment Advisor Representatives (“IARs”),
 21   who are individuals within the firm that provide investment advice to clients. The
 22   IARs are commonly co-employed by flexPATH. These individuals therefore may
 23   also receive compensation as an IAR of flexPATH. In fact, certain NFP IARs
 24   derive their entire compensation from flexPATH. Apart from the IARs, NFP’s
 25   President, Chief Executive Officer and Chief Investment Officer are co-employed
 26   by flexPATH. Every IAR listed in the flexPATH ADV is co-employed by NFP.
 27           52.        Plan participants were not informed that NFP was the entity that
 28   recommended that Molina consider the flexPATH Index target date funds for the
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  1   Plan, or that NFP had a profound conflict of interest when presenting its own funds
  2   for use in the Plan. Plan participants also were not informed of the decision-making
  3   process that the Plan’s fiduciaries employed prior to including the flexPATH Index
  4   target date funds.
  5                 C.      Contrary to established fiduciary practices, NFP advised
  6                         Molina regarding the use of the flexPATH Index target date
  7                         funds even though they were newly launched and untested.
  8           53.        On or about May 16, 2016, Molina added the flexPATH Index target
  9   date funds to the Plan. In doing so, Molina replaced the Vanguard Target
 10   Retirement target date funds, which as explained infra, were established and well-
 11   performing target date funds in the marketplace. The decision to add the flexPATH
 12   Index target date funds to the Plan resulted in over $210 million of the Plan’s assets
 13   (or 45% of the Plan’s total assets) being transferred to the flexPATH Index target
 14   date funds during 2016. This amount increased to over $360 million (or 57% of the
 15   Plan’s assets) as of December 31, 2019.
 16           54.        Molina added the flexPATH Index target date funds to the Plan, and
 17   NFP presented them to Molina for use in the Plan, even though flexPATH’s target
 18   date fund management style had never been used in any target date fund offered in
 19   a 401(k) plan. The novel and untested management style of the flexPATH Index
 20   target date funds was magnified by the inexperience of the funds’ investment
 21   manager (flexPATH), which had no established track record as an investment
 22   manager, had only managed assets for investors since June 2015, and only recently
 23   completed the launch of the flexPATH Index target date funds in January 2016.
 24   Despite these facts, Molina placed flexPATH’s target date funds in the Plan on or
 25   about May 16, 2016.
 26           55.        The decision to add the flexPATH Index target date funds to the Plan
 27   benefitted NFP and flexPATH by providing an immediate and substantial transfer
 28   of over $200 million of the Plan’s assets into these brand-new, untested target date
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  1   funds. The Plan’s investment of seed money substantially increased NFP’s and
  2   flexPATH’s assets under management in these investment vehicles, which
  3   materially benefitted their retirement business by enhancing the marketability of
  4   these new funds.
  5           56.       When NFP recommended the flexPATH Index target date funds to
  6   Molina for consideration, those funds did not yet exist. As a result, there was no
  7   actual performance history for NFP to consider when evaluating how the flexPATH
  8   Index target date funds performed under actual market conditions or relative to
  9   alternative target date fund strategies available to the Plan.
 10           57.       When making investment decisions, prudent fiduciaries of defined
 11   contribution plans consider the performance history, portfolio manager experience,
 12   and manager tenure of available investment alternatives. A consistent performance
 13   history and investment strategy, among other factors, demonstrate the ability of the
 14   investment manager to generate consistently superior long-term investment results.
 15   At a minimum, prudent fiduciaries require an actual five-year performance history
 16   for an investment option prior to its inclusion in a 401(k) plan.
 17           58.       A prudent fiduciary would not have recommended the flexPATH
 18   Index target date funds without a five-year performance history to assess the
 19   investment manager’s ability to provide superior long-term investment returns
 20   relative to prudent alternatives available to the Plan.
 21           59.       Given the lack of any performance history to evaluate the flexPATH
 22   Index target date funds relative to prudent alternatives available to the Plan, NFP
 23   could not conduct an independent investigation into the merits of adding the
 24   flexPATH Index target date funds relative to established target date fund
 25   alternatives. Nor could NFP conduct an independent investigation to determine
 26   whether flexPATH was sufficiently capable of managing the Plan’s assets through
 27   an untested investment strategy. The inadequate track record of flexPATH and its
 28   untested target date fund strategy would have been apparent to any prudent or loyal
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  1   fiduciary, particularly in light of the established and well-performing target date
  2   funds provided in or available to the Plan.
  3           60.       The decision to recommend for consideration the flexPATH Index
  4   target date funds in the Plan was contrary to the terms of the Plan’s IPS. Molina
  5   adopted an IPS effective on September 6, 2012, which was operative at the time the
  6   decision was made to include the flexPATH Index target date funds to the Plan. The
  7   IPS governed the selection, monitoring, and removal of Plan investment options.
  8   The IPS documented the investment process by which the Plan’s fiduciaries
  9   determined what was prudent when overseeing the Plan’s investments.
 10           61.       The IPS specified that the Investment Committee “will select” Plan
 11   investments based on certain criteria, which included “returns comparable to returns
 12   for similar investment options.” For the Qualified Default Investment Alternative
 13   (“QDIA”), 5 the investment selected should have investment performance “at least
 14   competitive with an appropriate style-specific benchmark and the median return for
 15   an appropriate, style-specific peer group,” “risk-adjusted return measures should be
 16   evaluated by the [Investment] Committee and be within a reasonable range relative
 17   to appropriate, style-specific benchmark and peer group,” and the “investment
 18   manager should demonstrate adherence to the stated investment objective,” among
 19   other factors.
 20           62.       Because the flexPATH Index target date funds had no prior
 21   performance history when the Investment Committee voted to approve their use in
 22   the Plan, NFP’s recommendation to consider those funds for the Plan violated the
 23   terms of the IPS. All Plan fiduciaries knew or should have known the terms of the
 24   IPS. Without any performance history, the flexPATH Index target date funds did
 25   not have returns comparable to similar investment options, let alone performance
 26     5
         A QDIA is limited to specific categories of investments, including life-cycle or
 27   target date funds, balanced funds, and professionally managed accounts. 29 CFR
      §2550.404c-5(e)(4).
 28
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  1   that was competitive with an appropriate benchmark or peer group.
  2           63.       The Plan’s IPS also specified criteria when an investment manager (or
  3   fund) may be removed. The IPS specified that a fund may be removed when the
  4   Investment Committee “has lost confidence in the manager’s ability” to “Achieve
  5   performance, style, allocation and/or risk objectives” and “Maintain acceptable
  6   qualitative standards.”
  7           64.       At the time the Vanguard Target Retirement target date funds were
  8   removed from the Plan and replaced with the flexPATH Index target date funds,
  9   and despite the removal criteria for a fund under the terms of the IPS, NFP did not
 10   express any loss of confidence in Vanguard’s ability to manage its target date funds
 11   used in the Plan.
 12           65.       When NFP presented the flexPATH Index target date funds to Molina,
 13   the Vanguard Target Retirement target date funds consistently performed better
 14   than peers. Despite Vanguard’s strong relative performance and established track
 15   record, NFP did not present to Molina the annualized returns and expenses of the
 16   Vanguard target date funds relative to other target date fund alternatives with
 17   established performance histories. This was in contrast to the information that NFP
 18   provided to Molina at that same time when Molina decided to replace other Plan
 19   investment options. Notably, all of the other alternative investments NFP presented
 20   to Molina for consideration had at least five years of actual performance history.
 21           66.       The decision to include the flexPATH Index target date funds was
 22   inconsistent with the Scorecard System Methodology developed by NFP to monitor
 23   Plan investments, which was incorporated into the IPS. When evaluating Plan
 24   investments, the IPS provided that asset allocation strategies were to be “evaluated
 25   over a five-year time period.” Given the lack of the necessary performance history
 26   of the flexPATH Index target date funds, NFP was unable to score those funds
 27   under the system it developed to evaluate target date fund strategies. After their
 28   inclusion in the Plan, NFP likewise did not score the flexPATH Index target date
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  1   funds. This was in contrast to NFP’s actions when it scored other funds in the
  2   Plan’s investment lineup.
  3           67.       In recommending for consideration the flexPATH Index target date
  4   funds for the Plan, NFP breached its fiduciary duties by failing to “balance the
  5   relevant factors and make a reasoned decision” that the flexPATH Index target date
  6   funds were prudent or in the best interest of the Plan’s participants. See George v.
  7   Kraft Foods Global, Inc., 641 F.3d 786, 788 (7th Cir. 2011). There was no prudent
  8   reason to consider the flexPATH Index target date funds for the Plan, because they
  9   were managed by an inexperienced investment manager under a novel and untested
 10   target date fund investment strategy and also because they were recommended by a
 11   self-interested fiduciary. NFP also failed to determine whether participants would
 12   be better served by other prudent and better performing passively managed
 13   alternatives available to the Plan after considering all relevant factors.
 14           68.       NFP did not prudently monitor the performance of the flexPATH
 15   Index target date funds after their inclusion in the Plan. When the flexPATH Index
 16   target date funds were added to the Plan, NFP did not present to Molina any style
 17   specific benchmark to evaluate the investment returns of the flexPATH Index target
 18   date funds. In August 2017, when NFP later reported the annual returns of the
 19   flexPATH Index target date funds related to NFP’s style specific benchmark as of
 20   June 30, 2017, all of the flexPATH Index target date funds underperformed their
 21   benchmarks. In addition, after the flexPATH Index target date funds were included
 22   in the Plan, they underperformed other established target date funds available in the
 23   marketplace, including those managed by Vanguard and Fidelity.
 24           69.       Despite the inferior performance of the flexPATH Index target date
 25   funds, NFP did not recommend that Molina remove these funds from the Plan, and
 26   thus, Molina maintained these funds in the Plan for years. Not until late 2020 did
 27   Molina eventually remove the flexPATH Index target date funds and replace them
 28   with the Fidelity Freedom Index target date funds.
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  1           70.        The significance of a plan’s target date fund option underscores the
  2   importance of a prudent and loyal selection process and continuous oversight of
  3   that option. Participants may rely solely on their single target date fund selection
  4   over their investment horizon to meet their retirement goals. At Molina, 40% to
  5   58% of the Plan’s total assets were invested in target date funds between 2015 and
  6   2020. No prudent fiduciary would recommend or consider a completely unproven
  7   fund that Plan participants rely so heavily on to meet their retirement needs.
  8                 D.      NFP caused Plan participants to suffer significant performance
  9                         losses from including the flexPATH Index target date funds in
 10                         the Plan.
 11           71.        At the time the flexPATH Index target date funds were added to the
 12   Plan, there was no shortage of prudent target date funds managed by experienced
 13   and reputable investment managers available to the Plan. The market for target date
 14   funds provided to defined contribution plans has been highly developed and
 15   competitive since target date funds were first offered to the marketplace in March
 16   1994.6
 17           72.        Vanguard’s target date funds are one example of a prudent target date
 18   alternative to the flexPATH Index target date funds. Beginning in 2010, Molina
 19   offered Vanguard Target Retirement Funds as the Plan’s target date fund option.
 20   Vanguard’s funds were replaced by the flexPATH Index target date funds in May
 21   2016. Molina’s prior actions demonstrate that it recognized that Vanguard was a
 22   prudent target date fund manager.
 23           73.        The exceptional experience and reputation of Vanguard in the
 24   investment management industry is well documented. Founded on May 1, 1975,
 25
 26
 27      Jeffrey Ptak, Success Story: Target-Date Investors, MORNINGSTAR (Feb. 19,
         6
      2018), https://www.morningstar.com/articles/850872/success-story-target-date-
 28   fund-investors.
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  1   Vanguard has offered investment products to investors for over 45 years. 7
  2   Vanguard has offered target date funds since 2003 8 and lower-cost collective
  3   investment trust versions (I shares) since 2007.9 Each year from 2012–2017,
  4   Vanguard received the highest Morningstar Analyst Rating for Target-Date Series
  5   mutual funds. 10
  6            74.      Vanguard has been the top target date fund provider (by assets under
  7   management) since 2014. 11 Since before 2016, Vanguard’s target date mutual funds
  8   have been strongly performing target date funds, 12 and the Vanguard collective
  9   investment trust versions have experienced even better performance because they
 10   charge lower fees than their mutual fund equivalents. Vanguard’s percentile
 11   rankings reflect that consistently strong performance. Over the five-year period
 12   from 2011 through 2015, the Vanguard target date mutual funds ranked better than
 13   the median of their peer group, including in the top quartile in three of those five
 14   years.
 15            75.      The Vanguard Target Retirement collective trust target date funds,
 16   which were available to the Plan, also provided additional fee savings relative to
 17   their mutual fund equivalents. Since 2016, the Vanguard Target Retirement Trust
 18      7
           Vanguard Chester Funds, Form N-1A, Jan. 27, 2017,
      https://www.sec.gov/Archives/edgar/data/752177/000093247117000194/chester48
 19   5b.htm.
         8
           Vanguard Chester Funds, Form N-CSR, Mar. 31, 2006,
 20   https://www.sec.gov/Archives/edgar/data/752177/000093247106000887/chesterfun
      dsfinal.htm.
 21      9
           Vanguard Chester Funds, Form N-CSR, Mar. 31, 2006,
      https://www.sec.gov/Archives/edgar/data/752177/000093247106000887/chesterfun
 22   dsfinal.htm; Vanguard Target Retirement 2020 Trust I Fact Sheet,
      https://institutional.vanguard.com/iippdf/pdfs/FS1464.pdf.
 23      10
            John Croke, Vanguard Earns Morningstar Gold, June 21, 2019,
      https://institutional.vanguard.com/VGApp/iip/site/institutional/researchcommentary
 24   /article/InvComVanguardMorningstarGold. Morningstar, Inc. is a leading provider
      of investment research and investment services, and is relied on by industry
 25   professionals.
         11
            Morningstar, 2019 Target Date Fund Landscape, at 9, 11
 26   https://institutional.vanguard.com/iam/pdf/TDFLNDSCP.pdf.
         12
            E.g., Morningstar, 2019 Target Date Fund Landscape at 33; Vanguard Chester
 27   Funds, Form N-1A, Jan. 27, 2017,
      https://www.sec.gov/Archives/edgar/data/752177/000093247117000194/chester48
 28   5b.htm.
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  1   Plus shares charge 6–7 bps, and the lower-cost Trust Select shares charge 5 bps.
  2   The Trust Plus shares have been available since August 2011, while the Trust
  3   Select shares have been available since June 2015.
  4           76.       Relative to the Trust Select Shares at the time the funds were added to
  5   the Plan, the flexPATH Index target date funds (I1 shares) charged 380% higher
  6   expenses—24 bps compared to 5 bps. Compared to the Plan’s Vanguard target date
  7   mutual funds, the flexPATH Index target date funds were close to 50% more
  8   expensive—24 bps compared to 16–18 bps. 13 The Plan later transitioned to M
  9   shares for the flexPATH Index target date funds at or around December 2018.
 10   These shares were still more than twice the cost of the Vanguard collective trusts—
 11   12 bps compared to 5 bps.
 12           77.       Presented with the consistent and strong performance of the Vanguard
 13   target date funds, coupled with lower investment management fees, a prudent
 14   fiduciary would not have recommended that they be removed from the Plan absent
 15   a compelling reason to do so after weighing all relevant factors. After weighing the
 16   relative merit of the Vanguard target date funds and the flexPATH Index target date
 17   funds, a prudent fiduciary would not have included flexPATH’s untested and newly
 18   launched funds in favor of the Vanguard target date funds. Nor would a prudent and
 19   loyal fiduciary have presented the untested and newly launched flexPATH Index
 20   target date funds for consideration in the Plan.
 21           78.       The above-referenced facts demonstrate that a prudent alternative to
 22   the flexPATH Index target date funds was the Vanguard Target Retirement Trust
 23   target date funds. From June 30, 2016 through September 30, 2020, the Plan’s
 24   flexPATH target date funds substantially underperformed the Vanguard Target
 25      13
           Vanguard Chester Funds, Form N-CSR, Sept. 30, 2015,
      https://www.sec.gov/Archives/edgar/data/752177/000093247115008529/chester_fi
 26   nal.htm. Effective June 26, 2015, Vanguard introduced lower-cost target date
      mutual funds called the Vanguard Institutional Target Retirement Funds, which
 27   charged 10 bps. See Vanguard Chester Funds, Form N-CSR, Sept. 30, 2015,
      https://www.sec.gov/Archives/edgar/data/752177/000093247115008529/chester_fi
 28   nal.htm.
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  1   Retirement Trust Select target date funds. Had the Plan used the Vanguard
  2   alternative rather than the flexPATH Index target date funds, Plan participants
  3   would not have lost in excess of $12.9 million of their retirement savings. 14
  4           79.       In October 2020, Molina finally replaced the flexPATH Index target
  5   date funds with the Fidelity Freedom Index target date funds (Premier Class).
  6   Molina reached that decision only after it subjected Plan participants to an untested
  7   target date fund that put at risk hundreds of millions of dollars of participants’
  8   retirement savings. By replacing the flexPATH Index target date funds with the
  9   Fidelity Freedom Index target date funds, Molina recognized that Fidelity’s target
 10   date funds were a prudent alternative to flexPATH’s target date funds.
 11           80.       Like Vanguard, Fidelity is an established and experienced investment
 12   manager of target date fund solutions. Fidelity has ranked second among top target
 13   date fund providers (by assets under management) since 2014. 15 Fidelity first
 14   offered target date funds to investors in 1996 when it launched its actively managed
 15   Fidelity Freedom target date funds. 16 In 2009, Fidelity launched its passively
 16   managed Fidelity Freedom Index target date funds, which were the funds later
 17   included in the Plan. 17 Over the five-year period from 2011 through 2015, the
 18   Fidelity Index target date mutual funds also ranked better than the median of their
 19   peer group on average.
 20           81.       At the time the flexPATH Index target date funds (I1 shares) were
 21   added to the Plan, they charged 200% higher expenses—24 bps compared to 8
 22   bps—relative to the Fidelity Freedom Index target date funds. 18 Even though the
 23
         14
            Plan losses have been brought forward to account for lost investment
 24   opportunity. Using the Vanguard Institutional Target Retirement mutual funds, Plan
      losses are in excess of $12.5 million.
 25      15
            Morningstar, 2019 Target Date Fund Landscape, at 9, 11.
         16
            Fidelity Aberdeen Street Trust, Form N-CSR, Mar. 31, 2006,
 26   https://www.sec.gov/Archives/edgar/data/880195/000088019506000042/aberann.ht
      m.
 27      17
            Fidelity Aberdeen Street Trust, Form N-CSR, Mar. 31, 2015,
      https://www.sec.gov/Archives/edgar/data/880195/000087846715000371/main.htm.
 28      18
            Fidelity Aberdeen Street Trust, Form N-CSR, Mar. 31 2015.
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  1   Plan later transitioned to M shares for the flexPATH Index target date funds, these
  2   shares were still 50% more expensive than the Fidelity Freedom Index target date
  3   funds (Institutional Premium Class)—12 bps compared to 8 bps. 19
  4           82.       The above-referenced facts demonstrate that the Fidelity Freedom
  5   Index target date funds were another prudent alternative to the flexPATH Index
  6   target date funds. From June 30, 2016 through September 30, 2020, the Plan’s
  7   flexPATH target date funds substantially underperformed the Fidelity Freedom
  8   Index target date funds. Had the Plan used the Fidelity alternative (as measured by
  9   the Institutional Premium Class) rather than the flexPATH Index target date funds,
 10   Plan participants would not have lost in excess of $19.7 million of their retirement
 11   savings. 20
 12    II.    NFP caused the Plan to pay unreasonable investment management fees
 13           through higher-cost share classes of Plan investments.
 14           83.       Plan expenses can “significantly reduce the value of an account in a
 15   defined-contribution plan.” Tibble v. Edison Int’l, 575 U.S. 523, 525 (2015). “It is
 16   beyond dispute that the higher the fees charged to a beneficiary, the more the
 17   beneficiary's investment shrinks.” Tibble v. Edison Int'l, 843 F.3d 1187, 1198 (9th
 18   Cir. 2016) (en banc). Due to the effect of compounding, even seemingly small fee
 19   differentials will significantly reduce a participant’s account balance over time. Id.
 20   at 1191, 1198.
 21           84.       In light of this pernicious effect of fees on participants’ retirement
 22   savings, skilled and diligent fiduciaries understand the fundamental importance of
 23   expenses to investment selection and monitoring. Indeed, “the duty to avoid
 24      19
            Fidelity Aberdeen Street Trust, Form N-CSR, Mar. 31 2019,
      https://www.sec.gov/Archives/edgar/data/880195/000137949119002596/filing717.
 25   htm. The Premier Class shares were launched in June 2020. See Fidelity Aberdeen
      Street Trust, Form N-CSR, Mar. 31, 2021,
 26   https://www.sec.gov/Archives/edgar/data/880195/000137949121002166/filing717.
      htm.
 27      20
            Plan losses have been brought forward to account for lost investment
      opportunity. Institutional Premium Class shares were used for purposes of
 28   computing the Plan’s losses.
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  1   unwarranted costs is given increased emphasis in the prudent investor rule” under
  2   the common law of trusts, which informs ERISA’s fiduciary duties. RESTATEMENT
  3   (THIRD) OF TRUSTS ch. 17, intro. note (2007); see Tibble, 575 U.S. at 528–29 (“In
  4   determining the contours of an ERISA fiduciary’s duty, courts often must look to
  5   the law of trusts,” and citing RESTATEMENT (THIRD) OF TRUSTS §90 in finding a
  6   continuing duty to monitor in case alleging imprudence in retaining higher-cost
  7   shares of plan investments). As the Restatement explains, “cost-conscious
  8   management is fundamental to prudence in the investment function.”
  9   RESTATEMENT (THIRD) OF TRUSTS §90 cmt. b.
 10           85.       Mutual funds and collective investment trusts frequently offer multiple
 11   share classes. The different share classes of a given mutual fund or collective trust
 12   have the identical manager, are managed identically, invest in the same portfolio of
 13   securities, and allocate their assets the same. The only difference is the fees
 14   charged; higher fees necessarily mean investors receive lower returns. The share
 15   classes are otherwise identical in all respects.
 16           86.       Because the only difference between the share classes is fees, selecting
 17   higher-cost shares results in a plan paying wholly unnecessary fees. Accordingly, as
 18   a matter of practice, skilled and diligent fiduciaries investigate all available share
 19   classes of plan investment options, both during the initial selection of the option
 20   and on an ongoing basis. The different share classes of a given fund can be readily
 21   determined with minimal effort by consulting fund literature such as a prospectus or
 22   offering statement. Upon ascertaining the available share classes, skilled and
 23   diligent fiduciaries almost invariably select the lowest-cost share classes available
 24   to their plans.
 25           87.       It is a simple principle of investment management that for any given
 26   fund, an investor with a larger amount of assets can obtain lower fees than a smaller
 27   investor. The market for retirement plan business is ultra-competitive, and
 28   investment managers will go to great lengths to win the business of a large
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  1   retirement plan. Adding such plans to the manager’s client list is not only
  2   financially rewarding, it also carries reputational and marketing value.
  3           88.       Mutual funds and collective trusts sometimes advertise minimum
  4   investment requirements for certain share classes. Large plans often easily clear
  5   these thresholds. To the extent a plan does not meet the advertised minimum,
  6   investment managers routinely waive the threshold upon request for plans for large
  7   defined contribution plans, which may help the manager obtain the plan as a client.
  8   See Tibble v. Edison Int’l, No. 07-5359, 2010 WL 2757153, at *9 (C.D. Cal. July 8,
  9   2010), affirmed 729 F.3d 1110 (9th Cir. 2013) (finding based on evidence at trial
 10   that “mutual funds will often waive an investment minimum for institutional share
 11   classes” for large 401(k) plans, and that “[i]t is also common for investment
 12   advisors representing large 401(k) plans to call mutual funds and request waivers of
 13   the investment minimums so as to secure the institutional shares”). Vanguard, for
 14   instance, expressly “reserves the right to establish higher or lower minimum
 15   amounts for certain investors.” 21
 16           89.       As a matter of fiduciary practice, skilled and diligent fiduciaries of
 17   large defined contribution plans understand that their plans wield tremendous
 18   bargaining power. Such fiduciaries are aware that in a competitive market,
 19   managers will compete to win their plans’ business and will waive advertised
 20   minimum investment requirements for particular share classes upon request. Such
 21   fiduciaries will not hesitate to request a waiver if needed, because doing so benefits
 22   participants by avoiding unnecessary fees that the plan would otherwise incur in a
 23   higher-cost share class.
 24           90.       A prominent legal counsel to defined contribution fiduciaries
 25   corroborates that these are the practices of prudent fiduciaries:
 26                     The fiduciaries also must consider the size and purchasing
 27      21
           See Vanguard Funds Multiple Class Plan,
      https://www.sec.gov/Archives/edgar/data/1409957/000093247113007109/multiplec
 28   lassplanvanguardfun.pdf.
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  1                     power of their plan and select the share classes (or
  2                     alternative investments) that a fiduciary who is
  3                     knowledgeable about such matters would select under the
  4                     circumstances. In other words, the “prevailing
  5                     circumstances”—such as the size of the plan—are a part
  6                     of a prudent decision making process. The failure to
  7                     understand the concepts and to know about the
  8                     alternatives could be a costly fiduciary breach. 22
  9           91.       During the proposed class period, Molina had the fiduciary authority
 10   over the selection and retention of share classes used for the Plan’s investments.
 11   However, NFP was charged with advising Molina on the use of share classes for
 12   Plan investments. Despite the fact that lower-cost shares for the exact same
 13   investment option were available to the Plan, the Plan provided higher-cost shares
 14   for Plan investments than were available to the Plan based on its size.
 15           92.       From May 16, 2016 through approximately December 31, 2018,
 16   Molina provided the flexPATH Index target date funds in “I1” shares even though
 17   lower-cost “R” shares were available since May 2, 2016. As of September 30, 2016,
 18   I1 shares charged approximately 24–25 bps when the lower-cost R shares charged
 19   19–20 bps. Although Molina transitioned to the lower-cost M shares for the
 20   flexPATH Index target date funds by December 31, 2018, the M shares were
 21   available to the Plan since February 23, 2018.
 22           93.       Apart from the flexPATH Index target date funds, and with the
 23   fiduciary assistance of NFP, Molina also maintained a number of mutual fund
 24   investments in higher-cost shares than were otherwise available to the Plan for the
 25   identical investment. The table set forth below summarizes those higher-cost
 26
 27
         22
           Fred Reish, Class–ifying Mutual Funds, PLANSPONSOR, Jan. 2011,
 28   http://www.plansponsor.com/MagazineArticle.aspx?id=6442476537.
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  1   funds. 23
  2
        Date       Mutual      Plan     Fee      Lower-    Fee   Inception     Max.
  3                Fund       Shares              Cost             Date 24     Excess
                             (Ticker)            Shares                         Fees
  4
                                                (Ticker)                        (%)
  5     2016       American      R4    81          R6      45      5/1/09       80%
                  Funds New (RNPEX) bps        (RNPGX)     bps
  6
                  Perspective
  7     2017        Fidelity    Inst  4 bps     Adv Inst    2     5/4/2011     100%
  8                500 Index (FXSIX)           (FXAIX)     bps
        2018        Fidelity     K     53–        K6       50      5/26/17      38%
  9      –           Low-     (FLPKX)  69      (FLKSX)     bps
 10     2020         Priced            bps
                     Stock
 11     2017        Fidelity    Inst  6 bps     Adv Inst    4     9/8/2011      50%
 12                 Mid Cap   (FSTPX)          (FSMDX)     bps
                     Index
 13     2016        Fidelity    Prem  9–12     Adv Inst    5-6    9/8/2011      80%
 14      –          Spartan   (FSIVX)  bps     (FSPSX)     bps
        2017      Int'l Index
 15
         23
            Expense ratios obtained from Morningstar, a leading provider of investment
 16   research and investment services, and relied upon by industry professionals.
         24
            See American Funds New Perspective Fund, Form 497K, Dec. 1, 2015,
 17   https://www.sec.gov/Archives/edgar/data/71516/000005193115001458/npf497k.ht
      m; Fidelity Spartan 500 Index Fund, Form 497K, Jan. 13, 2017,
 18   https://www.sec.gov/Archives/edgar/data/819118/000137949117000123/filing1923
      59564.htm; Fidelity Puritan Trust, Form N-CSR, July 31, 2017,
 19   https://www.sec.gov/Archives/edgar/data/81205/000137949117006219/filing977.ht
      m#301512824; Fidelity Salem Street Trust, Form N-CSR, Apr. 30, 2016,
 20   https://www.sec.gov/Archives/edgar/data/35315/000137949116004583/filing836.ht
      m#107550936; Fidelity Concord Street Trust, Form N-CSR, Feb. 28, 2015,
 21   https://www.sec.gov/Archives/edgar/data/819118/000136492415000136/Concord_
      1_main.htm#sii5685185; Fidelity Salem Street Trust, Form N-CSR, Aug. 31, 2015,
 22   https://www.sec.gov/Archives/edgar/data/35315/000088019515001173/Salem_mai
      n.htm#lig2210018; Janus Triton Fund, Form 497K, Apr. 27, 2015,
 23   https://www.sec.gov/Archives/edgar/data/277751/000095012315006605/d30892e4
      97k.htm; JP Morgan Trust I, Form N-CSR, June 30, 2015,
 24   https://www.sec.gov/Archives/edgar/data/1217286/000119312515311589/d30925d
      ncsr.htm#toc897800_12; MFS Series Trust I, Form N-CSR, Aug. 31, 2016,
 25   https://www.sec.gov/Archives/edgar/data/798244/000119312516747665/d211927d
      ncsr.htm#tx211925_5; T. Rowe Price Blue Chip Growth Fund–I Class, Form 497K,
 26   Dec. 15, 2015,
      https://www.sec.gov/Archives/edgar/data/902259/000090225915000023/bcipta-
 27   may13.htm; Victory Portfolios, Form N-CSR, Oct. 31, 2016,
      https://www.sec.gov/Archives/edgar/data/802716/000110465916164438/a16-
 28   20736_4ncsr.htm.
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        Date        Mutual          Plan       Fee      Lower-     Fee    Inception     Max.
  1
                    Fund           Shares                Cost               Date 24     Excess
  2                               (Ticker)              Shares                           Fees
                                                       (Ticker)                          (%)
  3
        2016       Fidelity    Prem  7 bps             Adv Inst     5     5/4/2011       40%
  4                Spartan   (FSITX)                  (FXNAX)      bps
                 U.S. Bond
  5
                    Index
  6     2017       Fidelity     Inst 4 bps Adv Inst                 3     5/4/2011       33%
  7                Spartan  (FXSTX)        (FXNAX)                 bps
                 U.S. Bond
  8                 Index
  9     2016        Janus        I    78       N                   68      5/31/12       15%
                    Triton  (JSMGX) bps (JGMNX)                    bps
 10     2016     JP Morgan       I    76       R6                  50     11/30/10       52%
 11                  U.S.   (JUESX) bps (JUEMX)                    bps
                   Equity
 12     2016     MFS Value      R4    61       R6                  50      5/1/06        22%
 13                         (MEIJX)   bps  (MEIKX)                 bps
        2016      T. Rowe     TRBCX   72   I (TBCIX)               58     12/17/15       24%
 14              Price Blue           bps                          bps
 15                 Chip
                   Growth
 16     2018       Victory       I    88–      R6                  86-    12/14/15        6%
 17      –          Small   (VSOIX)   93   (VSORX)                 87
        2020      Company             bps                          bps
 18                 Opp.
 19
 20           94.       By providing Plan participants the more expensive share classes of
 21   Plan investment options, Plan participants lost in excess of $1 million of their
 22   retirement savings. 25
 23                               CLASS ACTION ALLEGATIONS
 24           95.       29 U.S.C. §1132(a)(2) authorizes any participant or beneficiary of the
 25   Plan to bring an action individually on behalf of the Plan to enforce a breaching
 26
 27       Plan losses have been carried forward using the investment return of an S&P
         25
      500 index fund, the Vanguard Institutional Index (VIIIX), to account for lost
 28   investment returns on those assets.
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  1   fiduciary’s liability to the Plan under 29 U.S.C. §1109(a).
  2           96.       In acting in this representative capacity and to enhance the due process
  3   protections of unnamed participants and beneficiaries of the Plan, as an alternative
  4   to direct individual actions on behalf of the Plan under 29 U.S.C. §1132(a)(2),
  5   Plaintiffs seek to certify this action as a class action on behalf of all Plan
  6   participants and beneficiaries. Plaintiffs seek to certify the follow class:
  7           All participants and beneficiaries of the Molina Healthcare Salary Savings
  8           Plan from March 18, 2016 through the date of judgment.
  9           97.       This action meets the requirements of Rule 23 and is certifiable as a
 10   class action for the following reasons:
 11                     a.    The Class includes over 15,000 members and is so large that
 12           joinder of all its members is impracticable.
 13                     b.    There are questions of law and fact common to the Class
 14           because Defendant owed fiduciary duties to the Plan and to all participants
 15           and beneficiaries and took the actions and made omissions alleged herein as
 16           to the Plan and not as to any individual participant. Thus, common questions
 17           of law and fact include the following, without limitation: who are the
 18           fiduciaries liable for the remedies provided by 29 U.S.C. §1109(a); whether
 19           the fiduciaries of the Plan breached their fiduciary duties to the Plan; what
 20           are the losses to the Plan resulting from each breach of fiduciary duty; and
 21           what Plan-wide equitable and other relief the court should impose in light of
 22           Defendant’s breaches of duty.
 23                     c.    Plaintiffs’ claims are typical of the claims of the Class because
 24           each Plaintiff was a participant during the time period at issue in this action
 25           and all participants in the Plan were harmed by Defendant’s misconduct.
 26                     d.    Plaintiffs are adequate representatives of the Class because they
 27           were participants in the Plan during the Class period, have no interest that is
 28           in conflict with any other member of the Class, are committed to the vigorous
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  1           representation of the Class, and have engaged experienced and competent
  2           attorneys to represent the Class.
  3                     e.    Prosecution of separate actions for these breaches of fiduciary
  4           duties by individual participants and beneficiaries would create the risk of
  5           (A) inconsistent or varying adjudications that would establish incompatible
  6           standards of conduct for Defendant in respect to the discharge of its fiduciary
  7           duties to the Plan and personal liability to the Plan under 29 U.S.C. §1109(a),
  8           and (B) adjudications by individual participants and beneficiaries regarding
  9           these breaches of fiduciary duties and remedies for the Plan would, as a
 10           practical matter, be dispositive of the interests of the participants and
 11           beneficiaries not parties to the adjudication or would substantially impair or
 12           impede those participants’ and beneficiaries’ ability to protect their interests.
 13           Therefore, this action should be certified as a class action under Rule
 14           23(b)(1)(A) or (B).
 15           98.       A class action is the superior method for the fair and efficient
 16   adjudication of this controversy because joinder of all participants and beneficiaries
 17   is impracticable, the losses suffered by individual participants and beneficiaries
 18   may be small and impracticable for individual members to enforce their rights
 19   through individual actions, and the common questions of law and fact predominate
 20   over individual questions. Given the nature of the allegations, no class member has
 21   an interest in individually controlling the prosecution of this matter, and Plaintiffs
 22   are aware of no difficulties likely to be encountered in the management of this
 23   matter as a class action. Alternatively, then, this action may be certified as a class
 24   under Rule 23(b)(3) if it is not certified under Rule 23(b)(1)(A) or (B).
 25           99.       Plaintiffs’ counsel, Schlichter Bogard & Denton, LLP, will fairly and
 26   adequately represent the interests of the Class and is best able to represent the
 27   interests of the Class under Rule 23(g). Schlichter Bogard & Denton has been
 28   appointed as class counsel in over 30 other ERISA class actions regarding
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  1   excessive fees in large defined contribution plans. Courts in these cases have
  2   consistently and repeatedly recognized the firm’s unparalleled success in the area of
  3   defined contribution excessive fee litigation.
  4           100. Judge Michael Ponsor of the United States District Court for the
  5   District of Massachusetts found that Schlichter, Bogard & Denton had achieved an
  6   “outstanding result for the class,” and “demonstrated extraordinary resourcefulness,
  7   skill, efficiency and determination.” Gordan v. Mass Mutual Life Ins., Co., No. 14-
  8   30184, Doc. 144 at 5 (D. Mass. Nov. 3, 2016). Chief Judge Michael J. Reagan of
  9   the Southern District of Illinois recognized that the firm had shown “exceptional
 10   commitment and perseverance in representing employees and retirees seeking to
 11   improve their retirement plans,” and “demonstrated its well-earned reputation as a
 12   pioneer and the leader in the field” of 401(k) plan excessive fee litigation. Abbott v.
 13   Lockheed Martin Corp., No. 06-701, 2015 WL 43984750, at *1 (S.D. Ill. July 17,
 14   2015). Judge Harold Baker of the Central District of Illinois acknowledged the
 15   significant impact of the firm’s work, finding that as of 2013, the nationwide “fee
 16   reduction attributed to Schlichter, Bogard & Denton’s fee litigation and the
 17   Department of Labor’s fee disclosure regulations approach $2.8 billion in annual
 18   savings for American workers and retirees.” Nolte v. Cigna Corp., No. 07-2046,
 19   2013 WL 12242015, at *2 (C.D. Ill. Oct. 15, 2013) (emphasis added).
 20           101. Other courts have made similar findings. See, e.g., Marshall v.
 21   Northrop Grumman Corp., No. 16-6794 AB (JCX), 2020 WL 5668935, at *4 (C.D.
 22   Cal. Sept. 18, 2020) (“The Court finds that Schlichter, Bogard & Denton is
 23   exceptionally skilled having achieved unparalleled success in actually pioneering
 24   complex ERISA 401(k) excessive fee litigation[.]”); Kelly v. Johns Hopkins Univ.,
 25   No. 16-2835, 2020 WL 434473, at *2 (D. Md. Jan. 28, 2020) (Schlichter, Bogard &
 26   Denton “pioneered this ground-breaking and novel area of litigation” that has
 27   “dramatically brought down fees in defined contribution plans”); Bell v. Pension
 28   Comm. of ATH Holding Co., No. 15-2062, 2019 WL 4193376, at *2 (S.D. Ind.
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  1   Sept. 4, 2019) (the firm are “experts in ERISA litigation”); Spano v. Boeing Co.,
  2   No. 06-743, Doc. 587, at 5–6 (S.D. Ill. Mar. 31, 2016) (“The law firm Schlichter,
  3   Bogard & Denton has significantly improved 401(k) plans across the country by
  4   bringing cases such as this one[.]”) (internal quotations omitted); Beesley v. Int’l
  5   Paper Co., No. 06-703, 2014 WL 375432, at *2 (S.D. Ill. Jan. 31, 2014)
  6   (“Litigating this case against formidable defendants and their sophisticated
  7   attorneys required Class Counsel to demonstrate extraordinary skill and
  8   determination.”); George v. Kraft Foods Global, Inc., No. 08-3799, 2012 WL
  9   13089487, at *2 (N.D. Ill. June 26, 2012) (“It is clear to the Court that the firm of
 10   Schlichter, Bogard & Denton is preeminent in the field” “and is the only firm which
 11   has invested such massive resources in this area.”); Will v. General Dynamics
 12   Corp., No. 06-698, 2010 WL 4818174, at *3 (S.D. Ill. Nov. 22, 2010) (“Schlichter,
 13   Bogard & Denton’s work throughout this litigation illustrates an exceptional
 14   example of a private attorney general risking large sums of money and investing
 15   many thousands of hours for the benefit of employees and retirees.”).
 16           102. Schlichter Bogard & Denton handled the first full trial of an ERISA
 17   excessive fee case, resulting in a $36.9 million judgment for the plaintiffs that was
 18   affirmed in part by the Eighth Circuit. Tussey v. ABB, Inc., 746 F.3d 327 (8th Cir.
 19   2014). In awarding attorney’s fees after trial, the district court concluded that
 20   “Plaintiffs’ attorneys are clearly experts in ERISA litigation.” Tussey v. ABB, Inc.,
 21   No. 06-4305, 2012 WL 5386033, at *3 (W.D. Mo. Nov. 2, 2012). Following
 22   remand, the district court again awarded Plaintiffs’ attorney’s fees, emphasizing the
 23   significant contribution Plaintiffs’ attorneys have made to ERISA litigation,
 24   including educating the Department of Labor and federal courts about the
 25   importance of monitoring fees in retirement plans:
 26           Of special importance is the significant, national contribution made by
 27           the Plaintiffs whose litigation clarified ERISA standards in the context
 28           of investment fees. The litigation educated plan administrators, the
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  1           Department of Labor, the courts and retirement plan participants about
  2           the importance of monitoring recordkeeping fees and separating a
  3           fiduciary’s corporate interest from its fiduciary obligations.
  4   Tussey v. ABB, Inc., No. 06-4305, 2015 WL 8485265, at *2 (W.D. Mo. Dec. 9,
  5   2015).
  6           103. Schlichter Bogard & Denton was also class counsel in and handled
  7   Tibble v. Edison International, 135 S. Ct. 1823 (2015), the first and only Supreme
  8   Court case to address the issue of excessive fees in a defined contribution plan—in
  9   which the Court held in a unanimous 9–0 decision that ERISA fiduciaries have “a
 10   continuing duty to monitor investments and remove imprudent ones[.]” Id. at 1829.
 11   Schlichter Bogard & Denton successfully petitioned for a writ of certiorari and
 12   obtained amicus support from the United States Solicitor General and AARP,
 13   among others. Given the Court’s broad recognition of an ongoing fiduciary duty,
 14   the Tibble decision will affect all ERISA defined contribution plans.
 15       COUNT I: BREACH OF FIDUCIARY DUTIES (29 U.S.C. §1104(A)(1))
 16          RELATED TO THE FLEXPATH INDEX TARGET DATE FUNDS
 17           104. Plaintiffs restate and incorporate the allegations contained in the
 18   preceding paragraphs.
 19           105. NFP was required to act “solely in the interest” of participants and to
 20   manage the assets of the Plan for the “exclusive purpose of providing benefits to
 21   participants and their beneficiaries, and defraying reasonable expenses of
 22   administering the Plan”, and “with the care, skill, prudence, and diligence under the
 23   circumstances then prevailing that a prudent man acting in a like capacity and
 24   familiar with such matters would use in the conduct of an enterprise of a like
 25   character and with like aims”. 29 U.S.C. §1104(a)(1)(A)–(B). NFP was obligated to
 26   comply with the Plan’s governing documents, including the IPS. 29 U.S.C.
 27   §1104(a)(1)(D).
 28           106. NFP was responsible for evaluating and monitoring the Plan’s
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  1   investments on an ongoing basis and eliminating imprudent designated investment
  2   alternatives, and taking all necessary steps to ensure that the Plan’s assets were
  3   invested prudently. As the Supreme Court confirmed, ERISA’s “duty of prudence
  4   involves a continuing duty to monitor investments and remove imprudent ones[.]”
  5   Tibble, 575 U.S. at 530.
  6           107. NFP breached its duty of loyalty and prudence under 29 U.S.C.
  7   §1104(a)(1)(A) and (B) by causing the flexPATH Index target funds to be added
  8   and retained in the Plan. NFP failed to engage in a reasoned decision-making
  9   process to determine that using the flexPATH Index target date funds was in the
 10   best interests of Plan participants or prudent and failed to determine whether
 11   participants would be better served by other prudent and better performing
 12   alternatives available to the Plan after considering all relevant factors. NFP’s
 13   investment advice caused the flexPATH Index target date funds to be added and
 14   retained in the Plan and participants to incur significant losses.
 15           108. NFP breached its duties under §1104(a)(1)(D) by offering advice in
 16   violation of the IPS. The IPS specified that the Investment Committee “will select”
 17   Plan investments based on certain criteria, which included “returns comparable to
 18   returns for similar investment options. For the Plan’s QDIA, the investment
 19   selected should have investment performance “at least competitive with an
 20   appropriate style-specific benchmark and the median return for an appropriate,
 21   style-specific peer group,” “risk-adjusted return measures should be evaluated by
 22   the [Investment] Committee and be within a reasonable range relative to
 23   appropriate, style-specific benchmark and peer group,” and the “investment
 24   manager should demonstrate adherence to the stated investment objective,” among
 25   other factors. Because the flexPATH Index target date funds had no prior
 26   performance history, NFP’s recommendation to consider those funds for the Plan
 27   violated the terms of the IPS.
 28           109. Total Plan losses will be determined at trial after complete discovery in
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  1   this case and are continuing.
  2           110. Defendant is personally liable under 29 U.S.C. §1109(a) to make good
  3   to the Plan any losses to the Plan resulting from the breaches of fiduciary duties
  4   alleged in this Count and is subject to other equitable or remedial relief as
  5   appropriate. Defendant knowingly participated in the breach of the other Plan
  6   fiduciaries, knowing that such acts were a breach, enabled the other Plan fiduciaries
  7   to commit a breach by failing to lawfully discharge its own fiduciary duties, knew
  8   of the breach by the other Plan fiduciaries and failed to make any reasonable effort
  9   under the circumstances to remedy the breach. Thus, Defendant is liable for the
 10   losses caused by the breach of its co-fiduciary under 29 U.S.C. §1105(a).
 11      COUNT II: BREACH OF FIDUCIARY DUTIES (29 U.S.C. §1104(A)(1))
 12        RELATED TO THE USE OF HIGHER-COST VERSIONS OF PLAN
 13                                      INVESTMENTS
 14           111. Plaintiffs restate and incorporate the allegations contained in the
 15   preceding paragraphs.
 16           112. As explained in detail above, the practice of skilled and diligent
 17   fiduciaries of large defined contribution plans is to investigate the available share
 18   classes of a plan’s investment options both when selecting the investment and
 19   periodically thereafter, and to use the lowest-cost share class available to the plan to
 20   avoid incurring wholly unnecessary fees.
 21           113. In contrast to prudent fiduciary practice, NFP advised Molina
 22   regarding the selection or retention of higher-cost shares of numerous Plan
 23   investment options, even though a lower-cost share class of the same investment
 24   option with the identical investment manager and investment holdings was readily
 25   available to the Plan. In so doing, NFP breached its duty of prudence under 29
 26   U.S.C. §1104(a)(1)(B).
 27           114. Total Plan losses will be determined at trial after complete discovery in
 28   this case and are continuing.
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  1           115. Defendant is personally liable under 29 U.S.C. §1109(a) to make good
  2   to the Plan any losses to the Plan resulting from the breaches of fiduciary duties
  3   alleged in this Count and is subject to other equitable or remedial relief as
  4   appropriate. Defendant knowingly participated in the breach of the other Plan
  5   fiduciaries, knowing that such acts were a breach, enabled the other Plan fiduciaries
  6   to commit a breach by failing to lawfully discharge its own fiduciary duties, knew
  7   of the breach by the other Plan fiduciaries and failed to make any reasonable effort
  8   under the circumstances to remedy the breach. Thus, Defendant is liable for the
  9   losses caused by the breach of its co-fiduciary under 29 U.S.C. §1105(a).
 10    COUNT III: PROHIBITED TRANSACTIONS (29 U.S.C. §1106) RELATED
 11                 TO THE FLEXPATH INDEX TARGET DATE FUNDS
 12           116. Plaintiffs restate and incorporate the allegations contained in the
 13   preceding paragraphs.
 14           117. Section 1106(b) prohibits transactions between a plan and a fiduciary.
 15   29 U.S.C. §1106(b). NFP was a Plan fiduciary and advised Molina on the selection
 16   and retention of the flexPATH Index target date funds. NFP therefore dealt with the
 17   assets of the Plan in its own interest or for its own account, in violation of 29
 18   U.S.C. §1106(b)(1); acted in a transaction involving the Plan on behalf of a party
 19   whose interests were adverse to the interests of the Plan, its participants and
 20   beneficiaries, in violation of 29 U.S.C. §1106(b)(2); and received consideration for
 21   its own personal account from parties dealing with the Plan in connection with
 22   transactions involving the assets of the Plan, in violation of 29 U.S.C. §1106(b)(3).
 23           118. Section 1106(a) prohibits transactions between a plan and a party in
 24   interest. 29 U.S.C. §1106(a). NFP was a party in interest because it was a Plan
 25   fiduciary and an entity that provided services to the Plan. 29 U.S.C. §1002(14)(A)
 26   and (B). NFP caused the Plan to use the flexPATH funds. NFP therefore caused the
 27   Plan to engage in a transaction that it knew or should have known constituted an
 28   exchange of property between the Plan and a party in interest in violation of 29
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  1   U.S.C. §1106(a)(1)(A); engage in a transaction they knew or should have known
  2   constituted the furnishing of services between the Plan and a party in interest in
  3   violation of 29 U.S.C. §1106(a)(1)(C); and engage in a transaction it knew or
  4   should have known constituted a transfer of Plan assets to a party in interest in
  5   violation of 29 U.S.C. §1106(a)(1)(D).
  6           119. As a direct result of these prohibited transactions, NFP caused the Plan
  7   to suffer losses.
  8           120. Defendant is personally liable under 29 U.S.C. §1109(a) to make good
  9   to the Plan any losses to the Plan resulting from the breaches of fiduciary duties and
 10   prohibited transactions alleged in this Count and to restore to the Plan all profits
 11   through its use of Plan assets and is subject to other equitable or remedial relief as
 12   appropriate, including removal as a Plan fiduciary.
 13                                 JURY TRIAL DEMANDED
 14           121. Under Fed. R. Civ. P. 38 and the Constitution of the United States,
 15   Plaintiffs demand a trial by jury.
 16                                   PRAYER FOR RELIEF
 17             For these reasons, Plaintiffs, on behalf of the Plan and all similarly situated
 18   Plan participants and beneficiaries, respectfully request that the Court:
 19                 • find and declare that Defendant breached its fiduciary duties as
 20                     described above;
 21                 •   find and adjudge that Defendant is personally liable to make good to
 22                     the Plan all losses to the Plan resulting from each breach of fiduciary
 23                     duty, and to otherwise restore the Plan to the position it would have
 24                     occupied but for the breaches of fiduciary duty;
 25                 •   determine the method by which Plan losses under 29 U.S.C.
 26                     §1109(a) should be calculated;
 27                 •   order Defendant to provide all accountings necessary to determine
 28                     the amounts Defendant must make good to the Plan under §1109(a);
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  1                 •   surcharge against Defendant and in favor of the Plan all amounts
  2                     involved in any transactions which such accounting reveals were
  3                     improper, excessive and/or in violation of ERISA;
  4                 •   certify the Class, appoint each of the Plaintiffs as a class
  5                     representative, and appoint Schlichter Bogard & Denton LLP as
  6                     Class Counsel;
  7                 •   award to the Plaintiffs and the Class their attorney’s fees and costs
  8                     under 29 U.S.C. §1132(g)(1) and the common fund doctrine;
  9                 •   order the payment of interest to the extent it is allowed by law; and
 10                 •   grant other equitable or remedial relief as the Court deems
 11                     appropriate.
 12
      May 16, 2022                        Respectfully submitted,
 13
 14                                       By: /s/ Jerome J. Schlichter
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